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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND


UNITED STATES OF AMERICA, ex rei.
JOHN YOUNG, et ai.,

       Plaintiffs,

       v.                                                 Civil Action No. TDC-15-1125

ERIC BROWN, et ai.,

       Defendants.



                                              ORDER

       On June 24, 2016, the Court directed Relators within seven days to show good cause for

their failure to serve Defendants or their Complaint would be dismissed without prejudice. ECF

No. 22. Relators have not filed a response.    Accordingly, it is hereby ORDERED that, pursuant

to Federal Rule of Civil Procedure 4(m) and Local Rule !03.8(a), the Complaint is dismissed

without prejudice.

       The Clerk is directed to close this case.




Date: July 11,2016                                        ~::?~
                                                            THEODORE D. ~G
                                                            United States Dis~ge
